
PER CURIAM.
By petition for a writ of certiorari we have for review an order of the Florida *501Industrial Commission bearing date December 16, 1966.
We find that oral argument would serve mo useful purpose and it is therefore dispensed with pursuant to Florida Appellate Fule 3.10, subd. e, 31 F.S.A.
Our consideration of the petition, the record and briefs leads us to conclude that there has been no deviation from the essential requirements of law.
The petition is therefore denied.
The petition for attorney’s fees of petitioner is also denied.
It is so ordered.
THORNAL, C. J., and ROBERTS, O’CONNELL, CALDWELL and ERVIN, JJ-, concur.
